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                               UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF NEW YORK

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                                                 ............................................
VIRGINIA L. GIUFFRE,

        Plaintiff,
v.                                                                                              15-cv-07433-RWS
GHISLAINE MAXWELL,

        Defendant.


--------------------------------------------------X

                Declaration Of Laura A. Menninger In Support Of Defendant’s Motion
               For Rule 37(B) &(C) Sanctions For Failure To Comply With Court Order
                               And Failure To Comply With Rule 26(A)


        I, Laura A. Menninger, declare as follows:

        1.       I am an attorney at law duly licensed in the State of New York and admitted to

practice in the United States District Court for the Southern District of New York. I am a

member of the law firm Haddon, Morgan & Foreman, P.C., counsel of record for Defendant

Ghislaine Maxwell (“Maxwell”) in this action. I respectfully submit this declaration in support of

Defendant’s Motion for Rule 37(b) &(c) Sanctions for Failure to Comply with Court Order and

Failure to Comply with Rule 26(a).

        2.       Attached as Exhibit A is a true and correct copy of excerpts from Plaintiff’s

Response and Objections to Defendant’s First Set of Discovery Requests to Plaintiff, served

March 16, 2016.
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       3.      Attached as Exhibit B is a true and correct copy of excerpts from Plaintiff’s

Amended and Supplemental Response and Objections to Defendant’s First Set of Discovery

Requests to Plaintiff, served March 22, 2016.

       4.      Attached as Exhibit C is a true and correct copy of Addendum to Plaintiff’s Rule

26 Initial Disclosures, served March 22, 2016.

       5.      Attached as Exhibit D is a true and correct copy of Plaintiff, Virginia Giuffre’s

Revised Disclosure Pursuant to Fed. R. Civ. P. 26, served March 11, 2016.

       6.      Attached as Exhibit E is a true and correct copy of the transcript of the hearing

held before this Court on April 21, 2016.

       7.      Attached as Exhibit F is a true and correct copy of Plaintiff’s Second Amended

Supplemental Response and Objections to Defendant’s First Set of Discovery Requests to

Plaintiff, served April 29, 2016.

       8.      Attached as Exhibit G (filed under seal) is a true and correct copy of excerpts

from the Deposition of Virginia Giuffre taken in the above captioned matter on May 3, 2016, and

designated by Plaintiff as Confidential under the Protective Order.

       9.      Attached as Exhibit H (filed under seal) is a true and correct copy of excerpts

from the Deposition of Lynn Trude Miller taken in the above captioned matter on May 24, 2016,

and designated by Plaintiff as Confidential under the Protective Order.

       10.     Attached as Exhibit I (filed under seal) is a true and correct copy of medical

records bates labeled GIUFFRE005498-005569, produced by Plaintiff on June 1, 2016.

       11.     Attached as Exhibit J (filed under seal) is a true and correct copy of medical

records bates labeled GIUFFRE005492-5496, produced by Plaintiff on May 25, 2016.




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       12.     Attached as Exhibit K (filed under seal) is a true and correct copy of excerpts

from the Deposition of Dr. Steven Olsen taken in the above captioned matter on May 26, 2016,

and designated by Plaintiff as Confidential under the Protective Order.

       13.     Attached as Exhibit L is a true and correct copy of a letter from Laura A.

Menninger to Sigrid McCawley dated April 25, 2016 concerning discovery.

       14.     Attached as Exhibit M is a true and correct copy of a letter from Sigrid McCawley

to Laura A. Menninger and documents produced by Plaintiff bates labeled GIUFFRE005370-

5430, produced by Plaintiff on May 12, 2016.

       15.     Attached as Exhibit N is a true and correct copy of a letter from Sigrid McCawley

to Laura A. Menninger enclosing documents based labeled GIUFFRE005607-5613, produced by

Plaintiff on June 14, 2016.



                                                 By: /s/ Laura A. Menninger
                                                 Laura A. Menninger




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                               CERTIFICATE OF SERVICE

      I certify that on June 20, 2016, I electronically served this Declaration Of Laura A.
Menninger In Support Of Defendant’s Motion For Rule 37(B) &(C) Sanctions For Failure To
Comply With Court Order And Failure To Comply With Rule 26(A) via ECF on the following:

Sigrid S. McCawley                              Paul G. Cassell
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                                                /s/ Nicole Simmons
                                                Nicole Simmons




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